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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

__________________________________________
DERRICK STRONG,                           )
                        Plaintiff,         )
                                           )
                                           )               Case No.        19 C 8244
v.                                         )
                                           )
CITY OF CHICAGO FIRE DEPARTMENT and )                      Judge
THE CITY OF CHICAGO,                      )
                        Defendants.        )
__________________________________________)

                                        COMPLAINT

      Plaintiff Derrick Strong (“Strong”), by and through the undersigned attorneys, alleges:

      1. This civil action is brought pursuant to the Uniformed Services Employment and

         Reemployment Rights Act of 1994, 38 U.S.C. § 4301, et seq. (“USERRA”).



                                          PARTIES

      2. Mr. Strong began his employment with the Chicago Fire Department (“CFD”) as a

         Cross-Trained Firefighter/Emergency Medical Technician-Basic in August 2009.

         Plaintiff Strong resides in Chicago, Illinois, which is within the jurisdiction of this

         Court.

      3. The Chicago Fire Department provides fire suppression and emergency medical

         services to the City of Chicago, Illinois, under the jurisdiction of the Mayor of

         Chicago. The CFD maintains a place of business at 3510 S. Michigan Avenue, Floor

         2, Chicago, Illinois 60653, a location within the jurisdiction of this Court.

      4. The CFD is an employer within the meaning of 38 U.S.C. § 4303(4)(A), and is
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    subject to suit under USERRA under 38 U.S.C. § 4323(a).

 5. The City of Chicago (“City”) is a necessary party pursuant to Fed. R. Civ. P.

    19(a)(l)(A) in that, upon information and belief, the Court cannot provide complete

    relief in its absence as the City, through its Department of Human Resources

    (“DHR”), manages both the application and test administration processes for

    promotional examinations for the CFD; and establishes promotional eligibility lists

    from which CFD promotions are made.

 6. The City maintains a place of business, at 121 N. LaSalle Street, Chicago, Illinois.

    60602, within the jurisdiction of this Court.



                          JURISDICTION AND VENUE

 7. This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

    § 1331 and 38 U.S.C. § 4323(b).

 8. Venue is proper in this district under 38 U.S.C. § 4323(c) because the Defendants are

    located in and do business in this judicial district; and are considered “private

    employer[s]” as defined in 38 U.S.C. § 4323(i). Venue is also proper under 28 U.S.C.

    § 1391(b) because a substantial part of the events or omissions giving rise to this

    lawsuit occurred in this judicial district.



                           FACTUAL ALLEGATIONS

 9. Mr. Strong repeats the factual allegations set forth in paragraphs 1 – 8.

 10. In his position as a Cross-Trained Firefighter/Emergency Medical Technician-Basic,

    Strong protects against loss of life and property in varied ways, including by

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    performing fire suppression and emergency support activities at fire emergencies,

    administering basic life support emergency medical services to injured or sick

    persons, neutralizing and containing hazardous agents and by evacuating persons at

    risk of harm. He is currently assigned to Squad 5, a Special Operations Heavy

    Rescue unit, where he responds to fire emergencies, hazardous materials incidents

    and technical rescue incidents throughout Chicago, including but not limited to

    confined space incidents, trench rescues, structural collapses, high-angle rope rescues,

    advanced extrications, and dive incidents.

 11. Mr. Strong has been a member of the United States Army Reserve since July 2015.

    He is currently a Captain and a member of the Army’s Judge Advocate General’s

    Corps.

 12. Mr. Strong is currently assigned to the 416th Theater Engineer Command’s (“TEC”),

    Office of the Staff Judge Advocate as a Trial Counsel and Administrative Law

    Attorney, where he provides legal advice and overall legal support to the 416th TEC

    and its Command.

 13. On or about August 31, 2016, Strong received notice that he had been ordered to

    active duty to begin on September 30, 2016.

 14. On September 4, 2016, Strong submitted a written request for leave of absence form

    to the Chicago Department of Human Resources (“DHR”) requesting military leave

    from September 30, 2016 through June 26, 2017.

 15. In a written notice dated September 21, 2016, the DHR granted Strong’s leave request

    from September 30, 2016 to June 26, 2017 for the purpose of an active duty

    mobilization in support of Operation Enduring Freedom.

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 16. On September 16, 2016, the DHR posted a job announcement for the rank of Fire

    Engineer and began accepting applications for the promotional examination.

    Applications were accepted online through October 3, 2016.

 17. When the Fire Engineer examination was announced, Strong’s Army Reserve

    assignment was with the 91st Legal Operations Detachment (“LOD”). In the LOD,

    he provided legal support on a wide array of issues, including drafting wills and

    power of attorney documents, to servicemembers at local Army Reserve units and

    Active Duty Army installations.

 18. The job announcement outlined the components of the Fire Engineer examination,

    and announced Monday, November 14, 2016, as the date on which the written

    examination would be administered.

 19. The Fire Engineer job announcement further noted that the hands-on proficiency

    testing portion of the examination would be administered during the period of

    Wednesday, November 30, 2016 through Wednesday, March 16, 2017, and that “only

    candidates who complete[d] the written examination w[ould] be given an

    appointment for the proficiency test.”

 20. The job announcement for the Fire Engineer examination indicated in bolded,

    capitalized letters that “[n]o reschedules will be permitted for either exam

    component.”

 21. The City published a “Fire Engineer Frequently Asked Questions (FAQs)” document

    simultaneously with posting the job announcement. In the FAQs, the City outlined

    two options for those CFD employees who were on “active military duty overseas

    [who did not] have access to some of the documentation that [was] required to be

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    attached to the online application.” They could have family members or friends

    provide the documentation, including a valid State of Illinois driver’s license with a

    minimum classification of A or B and a copy of their Fire Service Vehicle Operator

    Online Class Certificate of Completion. For those who did not have family or friends

    to assist, they had to attach documentation to their online application validating their

    active duty status.

 22. On September 21, 2016, Strong submitted an application for the Fire Engineer

    promotional examination.

 23. On September 22, 2016, Strong received an email from the DHR confirming receipt

    of his examination fee for the Fire Engineer position. It reiterated the dates of the

    written and the proficiency examinations.

 24. Under the heading “Military Commitment Accommodation Requests,” the September

    22, 2016, email stated that “[c]andidates who have a military commitment on the date

    of the written examination will need to contact the City of Chicago, Department of

    Human Resources by the close of the payment grace period which is Tuesday,

    October 11, 2016 at Fire-application@cityofchicago.org. Please include “Military

    Commitment Request” in the subject line of your email. You will be required to

    provide information and/or supporting documentation regarding your request. The

    Department of Human Resources shall evaluate requests on an individual basis.”

 25. On September 26, 2016, Strong sent an email to the DHR stating “I will be on a

     military leave of absence for at least 270 days starting September 30, 2016. I have

    attached my orders. I will be on military orders the date of the written exam. I wish

    to have an opportunity to take the examination for the Fire Engineer position.”

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 26. On September 27, 2016, Strong sent a second request to the DHR stating that he

    would be on active duty in support of Operation Enduring Freedom and requesting “a

    make up date to take the exam when I am not on active duty and a reasonable amount

    of time to prepare for the exam.”

 27. Mr. Strong’s deployment began officially on September 30, 2016. While deployed,

    he performed several duties, many of which were new to him and required him to

    undertake complex training. Strong worked as a Legal Assistance Attorney in Fort

    Riley’s Legal Assistance Office (“LAO”), during a period when the LAO was

    awarded the Chief of Staff Award of Excellence.           Strong was also placed in a

    leadership role at the Fort Riley Tax Center. In order to perform his duties at the Tax

    Center, he completed difficult income tax training at The Judge Advocate General’s

    Legal Center and School in Charlottesville, Virginia. During this period, Strong also

    had to take and pass an Internal Revenue Service course and exam in order to provide

    tax services at free centers. Finally, Strong also worked as an administrative law and

    domestic operations law attorney while deployed. In so doing, he was required to

    train in domestic operations law so that he could then instruct gate guards, military

    police and courtesy patrol personnel at Fort Riley on how to lawfully use force and

    execute other activities in the performance of their duties.

 28. In an email dated October 5, 2016, DHR responded to Strong from the “Fire-

    application@cityofchicago.org” email address, to which Strong sent his initial

    request, informing him “[w]e will allow you to take a makeup examination when you

    return.”



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 29. Despite initially granting Strong’s request, DHR contacted him several times during

    his active duty deployment to obtain contact information for his commanding

    officer(s) and to schedule a remote administration of the written portion of the Fire

    Engineer examination.

 30. On October 21, 2016, in response to a DHR inquiry seeking to arrange remote

    administration of the Fire Engineer examination, Strong again requested (to both the

    DHR vendor conducting the Fire Engineer examination and DHR representative Jill

    May) to take the examination following his return to work following completion of

    his deployment.

 31. On October 30, 2016, in an email to then CFD Deputy District Fire Chief Edgar

    Ignacio Silvestrini, Strong repeated his request to take the Fire Engineer examination

    following his release from active military service.

 32. On October 31, 2016, Jill May notified Strong that the DHR’s October 5, 2016, grant

    of his request to take the Fire Engineer examination upon his return from active duty

    was erroneous. She noted that the DHR was prepared to remotely administer the first

    part of the examination to Strong on December 10, 2016, while he was on approved

    military leave from the CFD, at the site of his military duty station, and required that

    he accept or decline the remote test administration notice by November 4, 2016.

 33. On November 4, 2016, Strong sent a letter to the DHR stating that its numerous

    emails seeking to have him take the Fire Engineer examination while on active duty -

    even after initially granting his request on October 5, 2016 - left him unclear on

    whether or not he would be permitted to take the examination upon his return from

    active duty. In addition, he noted that the DHR contacts were causing “a lot of
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    emotional stress and uncertainty regarding [his employment with the CFD] and how

    joining the military will affect [his] future.” He also noted that he did not “wish to be

    harassed or discriminated against regarding th[e] test and [did] not wish to spend

    more time on th[e] issue while obligated to perform [his] military duty.” Mr. Strong

    expressed that, per federal regulations, 20 CFR § 1002.193, USERRA would be

    violated if he was denied the opportunity to take the missed Fire Engineer

    promotional examination after a reasonable amount of time to readjust to

    reemployment after returning to the CFD upon completion of his military service

    obligations.

 34. After Strong’s letter of November 4, 2016, the DHR and CFD ceased contact with

    Strong about taking the Fire Engineer examination while on active duty military

    leave.

 35. The City administered the Fire Engineer written examination on or about November

    14, 2016, and the corresponding oral/proficiency examination in January, February

    and June of 2017.

 36. Only candidates who completed the written examination were given an appointment

    for the oral/proficiency examination.

 37. Mr. Strong was honorably discharged from active duty with the Army on June 26,

    2017.

 38. On June 28, June 29, July 3 and October 5, 2017, Strong contacted various CFD and

    DHR personnel requesting to makeup the Fire Engineer promotional examination that

    he missed while on active duty. He did not receive a response from either the CFD or

    DHR.

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 39. On or about September 17, 2017, Strong filed a complaint with the Department of

    Labor (“DOL”) alleging that his rights under USERRA were violated.

 40. On or about May 17, 2018, the City established the 2016 Fire Engineer eligibility list

    (“2016 List”) for purposes of selecting CFD personnel for promotion to the Fire

    Engineer rank.

 41. On information and belief, the CFD began making promotions from the 2016 List in

    June 2018.

 42. The CFD typically offers promotional examinations, including Fire Engineer,

    approximately every ten (10) years.

 43. Promotions continue to be made from the 2016 List to the Fire Engineer rank. The

    2016 List will remain in effect until the administration of another Fire Engineer

    promotional examination.

 44. Since his return from active duty in June 2017, the Defendants have failed to provide

    Strong an opportunity to make up the Fire Engineer promotional examination.

 45. The DOL’s Veterans Employment and Training Service investigated Strong’s

    USERRA complaint, found that it had merit, and attempted to resolve the complaint

    informally.

 46. After unsuccessful settlement efforts, the DOL referred Strong’s complaint to the

    Department of Justice (“DOJ”).

 47. On September 20, 2019, the DHR posted a job announcement for the position of Fire

    Lieutenant and began accepting applications for the Lieutenant promotional

    examination.



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 48. Applications for the Lieutenant promotional examination were accepted until 11:59

     PM CST on October 7, 2019.

 49. The job announcement outlined the components of the Lieutenant examination; and

     announced Sunday, December 15, 2019, as the date on which the written examination

     will be administered.

 50. The Lieutenant job announcement further noted that the oral assessment portion of

     the Lieutenant examination is tentatively scheduled to begin the weekend of Saturday,

     January 25, 2020; and that “only candidates who complete the written examination

     will be given an appointment for the oral assessment.”

 51. The job announcement for the Lieutenant examination also indicated in bolded,

     capitalized letters that “[n]o reschedules will be permitted for either test portion.”

 52. The last page of the Lieutenant job announcement stated that “[t]he City of Chicago is

     an equal employment opportunity and military friendly employer,” but made no

     mention of the possibility of rescheduling the examination for servicemembers who

     will miss the examination opportunity due to military obligations.

 53. On or about October 3, 2019, Strong applied and paid the examination fee for the

     Lieutenant promotional examination.

 54. On October 3, 2019, Strong received an email from the DHR confirming receipt of

     his examination fee for the Lieutenant position. It reiterated the dates of the written

     examination and oral assessment and again, in bolded, capitalized letters, stated that

     “[n]o reschedules will be permitted for any reason.”

 55. Under the heading “Military Commitment Accommodation Requests,” the October 3,

     2019, email stated that “[c]andidates who have a military commitment on the date of

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     the written examination will need to contact the City of Chicago, Department of

     Human Resources by the close of the application period which is Monday, October 7,

     2019, at Fire-application@cityofchicago.org. Please include “Military Commitment

     Request” in the subject line of your email.         You will be required to provide

     information and/or supporting documentation regarding your request.                  The

     Department of Human Resources shall evaluate requests on an individual basis.”

 56. On November 19, 2019, individuals who applied to take the Lieutenant promotional

     examination received an email outlining specifics relating to test administration and

     changing the date and time by which to submit “military commitment requests” to the

     DHR to November 22, 2019, at 4:30 PM CST.

 57. Upon information and belief, there are CFD employees who are currently deployed or

     will deploy prior to December 15, 2019, who wish to and are eligible to take the

     Lieutenant promotional examination but will miss one or both portions of the

     examination due to military service obligations; and will not be permitted by the City

     and/or the CFD to take the Lieutenant promotional examination following a

     reasonable adjustment period after their return from military service.



                                      COUNT I
                               (Violation of USERRA)
 58. USERRA requires that servicemembers on leave for more than ninety days should be

     promptly reemployed “in the position of employment in which the person would have

     been employed if the continuous employment of such person with the employer had

     not been interrupted by such service, or a position of like seniority, status and pay, the

     duties of which the person is qualified to perform.” 38 U.S.C. § 4313(a)(2)(A).
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 59. USERRA regulations provide that “[i]f an opportunity for promotion, or eligibility for

     promotion, that the employee missed during service is based on a skills test or

     examination, then the employer should give him or her a reasonable amount of time

     to adjust to the employment position and then give a skills test or examination.” 20

     CFR § 1002.193.

 60. By its conduct, the City has violated 38 U.S.C. § 4313 and 20 C.F.R. §1002.193 by

     denying Strong the opportunity to take the 2016 Fire Engineer promotional

     examination upon his return from active duty following a reasonable amount of time

     to adjust to his employment position, thereby continuing to deny Strong proper

     reemployment with the status and benefits he would have enjoyed but for his military

     service.

 61. All conditions precedent to the filing of this suit have been performed or have

     occurred.



                               PRAYER FOR RELIEF

 62. The United States prays that the Court enter judgment against the Defendants and

 grant the following relief:

        a. declare that the Defendants’ failure to provide Strong an opportunity to take a

            makeup Fire Engineer promotional examination upon his return from active

            duty following a reasonable readjustment period violated USERRA;

        b. order Defendants to comply with USERRA by:




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           (1)    providing Strong with a makeup examination for the 2016 Fire

                  Engineer promotional examination, including a reasonable time to

                  prepare for the examination;

           (2)    interfiling Strong’s score on the makeup Fire Engineer promotional

                  examination to the 2016 Fire Engineer eligibility list;

           (4)    should his score merit, providing Strong a certification for promotion

                  date that corresponds to that of others who took the 2016 Fire Engineer

                  promotional examination and achieved the same or similar score; and

           (5)    should his score merit, promoting Strong to Fire Engineer with all of

                  the rights, benefits (including, but not limited to, backpay), and

                  seniority that Strong would have enjoyed if he had been permitted to

                  take the promotional examination upon his return from his military

                  service obligations and achieved the same score;

        c. award Strong prejudgment interest on the amount of lost wages and benefits

           found due;

        d. declare that the Defendants’ failure to provide Strong and all servicemembers

           an opportunity to take promotional examinations upon their return from

           military service following a reasonable readjustment period violates

           USERRA;

        e. enjoin Defendants from requiring servicemembers, including Strong, on

           military leave to take promotional examinations while subject to military

           service obligations; and



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               f. award such additional relief as justice may require, together with the costs and

                   disbursements in this action.

                                                        Respectfully submitted,

                                                        PLAINTIFF
                                                        Derrick Strong

                                                        By its attorneys:

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Northern District of Illinois                           Civil Rights Division

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Dated: December 17, 2019




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